                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


RANDALL PHILLIPS d/b/a                        )
VOLUNTEER PROPERTIES                          )
                                              ) NO. 3-14-0653
v.                                            ) JUDGE CAMPBELL
                                              )
NATIONAL SURETY CORP.                         )


                                              ORDER


       The parties have filed a Joint Motion to Enter Order of Dismissal with Prejudice Based upon

Settlement (Docket No. 18). Accordingly, this action is DISMISSED with prejudice, and the Clerk

is directed to close the file. Any pending Motions are denied as moot.

       The pretrial conference set for July 13, 2015, and the jury trial set for July 21, 2015, are

canceled. This Order shall constitute the final judgment in this case pursuant to Fed. R. Civ. P. 58.

       IT IS SO ORDERED.


                                                      ___________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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